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     Attorney(s) for Digital Verification Systems, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     DIGITAL VERIFICATION            §
10   SYSTEMS, LLC,                   §             Case No: 3:22-cv-02645-JSC
                                     §
11
          Plaintiff,                 §             PATENT CASE
12                                   §
     vs.                             §
13
                                     §
14   YOTI INC.                       §
                                     §             NOTICE OF VOLUNTARY
15
          Defendant.                 §             DISMISSAL WITHOUT PREJUDICE
16   ________________________________§
17
           Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files this
18
     Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
19
     Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
20
     by the plaintiff without order of court by filing a notice of dismissal at any time before
21
     service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
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     dismisses this action against Defendant Yoti, Inc. without prejudice, pursuant to Rule
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     41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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 1   Dated: June 23, 2022                     Respectfully submitted,
 2
                                              /s/ Stephen M. Lobbin
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 8                                            Attorney(s) for Plaintiff

 9
                                 CERTIFICATE OF SERVICE
10
           I hereby certify that on June 23, 2022, I electronically filed the above
11
     document(s) with the Clerk of Court using CM/ECF which will send electronic
12
     notification of such filing(s) to all registered counsel.
13

14                                            /s/ Stephen M. Lobbin
15                                            Stephen M. Lobbin
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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
